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JONATHAN NOWITZKI, _ y ,¢ _ § .
PLAINTIFF §='IZCVZQQ§ §§

cASE NO.

V.

MARK CUBAN, D/B/A OWNER NATIONAL
BASKETBALL ASSOCIATION'S DALLAS
MAVERICKS,

DEFENDANT

PRELIMINARY INJUNCTION
TEMPORARY RESTRAINING ORDER

 

TIFF SEEKS A RESTRAINING ORDER AGAINST MARK CUBAN.

MY NAME IS JON_ATHAN NOWITZKI, AND I'M THE YOUNGER BROTHER OF
DALLAS MAVERICKS BASKETBALL STAR DIRK NOWITZKI. I CURRENTLY LIVE
IN WURZBURG GERMANY. ON 6/21/2012, I FLEW TO AMERICA TO VISIT MY

OF THE NBA FINALS, HEAT V. THUNDER. AT 7PM, ME & DIRK ARRIVED AT
CUBAN'S MANSIGN. CUBAN TOOK US TO THE ENTERTAINMENT ROOM AND
WE W'ERE WATCHING THE GAME, AT HALF TIME MY BROTHER DIRK GOT
UP AND LEFT THE ROOM TO GO TO THE KITCHEN TO MAKE SOME NACHG'S.
I WAS LEFT ALONE TN THE ROOM WITH CUBAN, CUBAN WAS IN'I`OXICATED

WHEN DIRK LEFT, MARK CUBAN CAME OVER TO ME AND PUT HIS ARM
AROUND MY SHOULDER AND STARTING KISSING ME ON MY NECK. I SAID
"WHOA CUBAN" " I'M STRAIGHT DUDE, I'M JUST HERE TO WATCH THE GAME"
CUBAN THEN SAID " YOU KNOW YOU WANT ME" AND " I CAN BE YOUR SUGAR
DADDY" AND HE PUT HIS TOUNGE IN MY EAR AND PUT HIS HANDS DOWN MY
PANTS. I JUMPED UP HUMILIATED AND T()LD HIM I'M NOT GAY, CUBAN THEN
SAID I'M JUST LIKE THE REST OF THEM ,AND I SAID "WHO" AND HE SAID "
BARACK OBAMA" AND I SAID "WHAT DO YOU MEAN", AND THEN CUBAN
STARTING YELLING AT ME IN A DRUNKEN RAGE , SAYING I DON’T BELONG

IN THIS COUNTRY LIKE BARACK OBAMA. I SAID "WHAT DO YOU MEAN".
CUBAN TOLD ME WHEN CUBAN WAS AT THE WHITE HOUSE AFTER THE MAV-
ERICKS WON THE CHAMPIONSHIP TO MEET THE PRESIDENT, CUBAN AND

 

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ERICKS WON THE CHAMPIONSHIP TO I\EEETTHE PRESIDENT, CUBAN AND
BARACK WENT INTO THE OVAL OFFICE AND CUBAN TOLD ME THAT BARACK
TOLD CUBAN THAT HE WAS NOT A U.S. 'CITIZEN , BUT IN FACT BORN IN
KENYA, AND THEN CUBAN POINTED AT ME WITH A MILLER IN HIS HAND AND
SAID " YOU DONT DESERVE TO BE IN THIS COUNTRY" AND SAID " YOU PEOPLE
KILLED MY FAMILY IN AUCHOWITZ" AND SCREAMED AT ME " YOU GERMANS
KILLED JEWS" AND CALLED ME A HOLOCAUST SYMPATHIZER AND THEN
THREW THE MILLER LIGHT AT MY HEAD WI-H'CH HIT MY TEMPLE AND I
STAGGERED BACK , FELL TG THE FLOOR , A.ND CUBAN JUMPED ON TOP OF
ME, PUT HIS HANDS AROUND MY NECK AND STRARTED CHOKING ME AND HE
SLAPPED ME. I BEGGED FOR HIM TG GET OFE`, AND HE WAS ON TOP OF ME FOR
2 MINUTES AND GOT UP, TOLD ME TO CLEAN MYSELF UP , AND GAVE ME A
STERN WARNING SAYING" IF YOU TE-LL AN‘{ONE ABOUT THIS INCIDENT, I
WILL CUT DIRK FROM THE TEAM, HE WILL BE IQBLESS, I WILL AMENSTY

HIS CONTRACT" " DO YOU UNDERSTAND ME"' AND POINTED AT MY FACE,
AND TOLD ME HE GOT ALL THE MONEY IN THE W'ORLD '!`O HUNT ME DOWN
LIKE A DOG IN GERMANY, AND FURTHER SAID " PAYBACK ,ALSO FOR WHAT

AND BY THEN DIRK CAME BACK IN THE ROOM WITH NACHOS, BUTI WAS TOO
SCARED TO TELL I~HM , WE WA'I`CHED THE GAME, AND I LEFT. NOW I'M AT
THE GERMAN EMBASSY IN WASHINGTON SCARED FOR MY LIFE, I FEAR
CUBAN WILL ASSUALT ME AGAIN. I SEEK A R_ESTRAINING ORDER.
_ !.. `
RESPECTFULLY, ' § l

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g&j:

J()NATHAN NOWITZKI
2300 M ST NW
WAS}HNGTON, D.C 20037

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